Case 4:18-cv-00466-RH-CAS Document 1-3 Filed 10/10/18 Page 1 of 2

Florida

Ken Detzner, Secretary of State
Clifton Building

2661 Executive Center Circle
Tallahassee, FL 32301

Department of State, Division of Elections
Director's Office

Room 316, R. A. Gray Building

500 South Bronough Street

Tallahassee, FL 32399-0250

Re: Technical Failures During Online Voter Registration and Party Registration Updates

Dear Secretary Detzner and Staff of the Florida Division of Elections,

The ACLU of Florida would like to formally express our concerns over reports that Florida’s
online voter registration website (www.registertovoteflorida.gov) was not allowing Floridians to
change party registrations and possibly not allowing them to register to vote during mid to late
July in 2018.' As you know, technical difficulties related to online voter registration could result
in some Floridians not participating in the upcoming primary election and, thus, being denied the
right to vote.

To ensure that all issues are quickly addressed and resolved and that appropriate remedies are in
place, we seek your responses to the following questions:

1. When and how was the problem with the online voter registration website first brought to
your attention?

! https://www.politico.com/states/florida/story/2018/07/23/state-fixes-voter-registration-problem-with-
simple-updates-5223 70

Case 4:18-cv-00466-RH-CAS Document 1-3 Filed 10/10/18 Page 2 of 2

2. Did the recent technical glitches on www.registertovoteflorida.gov only stop people from
changing party registration or did it also impact people registering for the first time?

3. How many complaints, either verbal or in writing, did your office receive regarding the
technical problems on the website?

4. Outside of those who contacted your office, how many others experienced problems with
the site based on other information available to you?

5. What was the process for fixing these problems and which staff members in your office
were involved in that process?

6. What steps has the Division of Elections taken to remedy the situation for individuals that
experienced technical failures?

7. Have individuals been notified about whether their registration or update to registration
was completed and/or that the website is now functioning correctly? What was the form
of that notification, i.e., in writing, by phone, or through some other method?

Given that the upcoming registration deadlines for both the primary and general elections are fast
approaching, we appreciate receiving your response to this letter by August 3, 2018.

Thank you,

Nancy G. Abudu

Legal Director

American Civil Liberties Union of Florida
4343 West Flagler St., Suite 400

Miami, FL 33134
